                       UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

                            NO. S:09-CR-316-7F(3)

UNITED STATES OF AMERICA               )
                                       )
                v.                     )          ORDER APPROVING
                                       )     PRETRIAL DIVERSION AGREEMENT
LISA ROUSE                             )

     The United States Attorney,           having deferred prosecution in

this case pursuant to a written agreement with the Defendant, the

written agreement having been submitted to the Court for approval,

and the Court having reviewed the written agreement and being of

the opinion that       deferred prosecution pursuant           to    the written

agreement is appropriate in this case, it is

     HEREBY ORDERED that the Pretrial Diversion Agreement executed

in this case between the United States and LISA ROUSE, on June 9,

2010, is approved in accordance with Section 6(b) of the Plan for

Achieving Prompt Disposition of Criminal Cases for the Eastern

District   of   North Carolina and Title        18,    United       States    Code,

Section 3161(h) (2).

     The Clerk of Court is hereby directed to file the Pretrial

Diversion Agreement executed herein regarding LISA ROUSE and this

Order Approving Pretrial Diversion Agreement.

     ThiS,' the dO-rh day of June, 2010.




                                   J
                                   S                  STATES DISTRICT JUDGE




     Case 5:09-cr-00316-F     Document 122    Filed 06/30/10    Page 1 of 1
